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 4   Attorneys for Defendant
     CHI KEUNG HUI
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 9                       IN THE DISTRICT COURT OF THE UNITED STATES

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11                                     SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                          No. 2:08-CR-00064

14                    Plaintiff,                        STIPULATION AND ORDER TO
                                                        CONTINUE
15   vs.                                                STATUS CONFERENCE

16   CHI KEUNG HUI,

17                    Defendant.

18                                           /

19          It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from August 11, 2011

21   a.m. to September 1, 2011 at 9:00 a.m. It is further stipulated that there is good cause

22   for said continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules and for defense preparation and continuity of counsel pursuant to 18

24   U.S.C.§ 3161 (h)(7)(A) and (B)(iv).

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 1   Dated: August 10, 2011

 2

 3                                                    /s/
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
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 6
     Dated: August 10, 2011
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                                                        /s/
 9                                            MICHAEL BECKWITH,
                                              Assistant United States Attorney
10

11                                            ORDER

12                For the reasons stated above, the status conference in this matter,

13   currently August 11, 2011, is continued to September 1, 2011 at 9:00 a.m.; and the

14   time beginning, August 11, 2011, and extending through September 1, 2001, is

15   excluded from the calculation of time under the Speedy Trial Act for effective defense

16   preparation. The Court finds that interests of justice served by granting this continuance

17   outweigh the best interests of the public and the defendants in a speedy trial. 18

18   U.S.C.§ 3161 (h)(7)(A) and (B)(iv).

19                IT IS SO ORDERED.

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      Dated: August 15, 2011
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                                               MORRISON C. ENGLAND, JR.
23                                             UNITED STATES DISTRICT JUDGE

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